






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-12-00169-CR






David Joseph Reif, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF BELL COUNTY, 426TH JUDICIAL DISTRICT

NO. 66177, HONORABLE FANCY H. JEZEK, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N



		This is an appeal pursuant to Anders v. California, 386 U.S. 738 (1967).  Appellant
David Joseph Reif pleaded guilty to the offense of assault of a family member, specifically a
woman&nbsp;with whom he had a dating relationship, by strangulation.  See Tex. Penal Code Ann.
§&nbsp;22.01(b)(2)(B) (West 2011).  Reif was placed on three years' deferred-adjudication community
supervision.  The State subsequently filed a motion to adjudicate, alleging that Reif had violated the
terms and conditions of his community supervision by, among other things, again assaulting his
girlfriend.  Reif pleaded true to each of the State's sixteen allegations in the motion to adjudicate.
The district court found the allegations in the motion to adjudicate true, adjudicated Reif guilty of
the original assault offense as charged, and sentenced Reif to eight years' imprisonment.  This
appeal&nbsp;followed.

		Reif's court-appointed attorney has filed a motion to withdraw supported by a
brief&nbsp;concluding that the appeal is frivolous and without merit.  The brief meets the requirements of
Anders v. California by presenting a professional evaluation of the record demonstrating why there
are no arguable grounds to be advanced.  See 386 U.S. at 744-45; see also Penson v. Ohio, 488 U.S.
75 (1988); High v. State, 573 S.W.2d 807 (Tex. Crim. App. 1978); Currie v. State, 516 S.W.2d
684&nbsp;(Tex. Crim. App. 1974); Jackson v. State, 485 S.W.2d 553 (Tex. Crim. App. 1972); Gainous
v. State, 436 S.W.2d 137 (Tex. Crim. App. 1969).  Reif was mailed a copy of counsel's brief and
advised of his right to examine the appellate record and to file a pro se brief.  No pro se brief
has&nbsp;been filed.

		We have reviewed the record and counsel's brief and agree that the appeal is frivolous
and without merit.  We find nothing in the record that might arguably support the appeal.  Counsel's
motion to withdraw is granted.

		We observe, however, that the judgment adjudicating guilt contains a clerical error.
Specifically, the judgment lists the statute for offense as "22.02 Penal Code."  This Court has the
authority to modify incorrect judgments when the necessary information is available to do so.  See
Tex. R. App. P. 43.2(b); Bigley v. State, 865 S.W.2d 26, 27-28 (Tex. Crim. App. 1993); see also
McDonald v. State, No. 03-11-00540-CR, 2012 Tex. App. LEXIS 2592, at *2-3 (Tex. App.--Austin
Mar. 30, 2012, no pet.) (modifying judgment to correct citation to statute).  Accordingly, we modify
the judgment to reflect the correct statute for the offense as "22.01(b)(2)(B) Penal Code."

		As modified, the judgment adjudicating guilt is affirmed.


						____________________________________________

						Bob Pemberton, Justice

Before Justices Puryear, Pemberton and Henson

Modified and, as Modified, Affirmed

Filed:   August 16, 2012

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